                    Case 12-40701   Doc 8       Filed 03/30/12   Entered 03/30/12 14:24:08   Desc Main Document     Page 1 of 28

              Form B6 SUM (12/07)




 UNITED STATES BANKRUPTCY COURT Eastern                                                         DISTRICT OF Texas


 In re:   Optovision Technologies, Inc.                                                        Debtor(s) Case No.
                                                                                               Chapter




                                                   SUMMARY OF SCHEDULES

      Indicate as to each schedule whether that schedule is attached and state the number of pages in each. Report the totals from Schedules A, B, D, E,
F, I and J in the boxes provided. Add the amounts from Schedules A and B to determine the total amount of the debtor's assets. Add the amounts of all
claims from Schedules D, E, and F to determine the total amount of the debtor's liabilities. Individual debtors also must complete the "Statistical
Summary of Certain Liabilities and Related Data" if they file a case under chapter 7, 11, or 13.

                       Attached (Yes/No)           Number of Sheets                          Amounts Scheduled

           Name of Schedule                                       Assets                      Liabilities                    Other

A - Real Property                                                              0.00
                                            x      1
 B - Personal Property                      x      6                 109100.00

 C - Property Claimed as Exempt             x      1
 D - Creditors Holding Secured Claims       x      1                                                        0.00

 E - Creditors Holding Unsecured
     Priority Claims
                                            x      1                                                19560.13

 F - Creditors Holding Unsecured
     Nonpriority Claims                     x      1                                           2,942,952.51

 G - Executory Contracts and
     Unexpired Leases                       x      1

 H - Codebtors                              x      1

 I - Current Income of
     Individual Debtor(s)                                                                                                              0.00

 J - Current Expenditures of
     Individual Debtor(s)                                                                                                              0.00

   Total Number of Sheets of All Schedules
                                                   13
                                     Total Assets                      109100.00

                                                                    Total Liabilities             2962512.64
                 Case 12-40701       Doc 8   Filed 03/30/12    Entered 03/30/12 14:24:08        Desc Main Document    Page 2 of 28


              Form B6, S2, (12/07)




                                                United States Bankruptcy Court
                 Eastern                District Of Texas
     In re: Optovision Technologies, Inc.                                                                   Case No.
                                                                                            Debtor(s)
                                                                                                            Chapter       7




   STATISTICAL SUMMARY OF CERTAIN LIABILITIES AND RELATED DATA (28 U.S.C. § 159)

  If you are an individual debtor whose debts are primarily consumer debts, as defined in § 101(8) of the Bankruptcy Code (11 U.S.C.
§ 101(8)), filing a case under chapter 7, 11, or 13, you must report all information requested below.
 X Check this box if you are an individual debtor whose debts are NOT primarily consumer debts. You are not required to report any
information here.
     This information is for statistical purposes only under 28 U.S.C. § 159.
           Summarize the following types of liabilities, as reported in the Schedules, and total them.


                   Type of Liability                                                                 Amount
       Domestic Support Obligations (from Schedule E)                                       $                    NA
        Taxes and Certain Other Debts Owed to Governmental Units                            $                    NA
        (from Schedule E)
       Claims for Death or Personal Injury While Debtor Was Intoxicated                     $                   NA
       (from Schedule E)
       Student Loan Obligations (from Schedule F)                                           $                    NA
       Domestic Support, Separation Agreement, and Divorce Decree                           $                    NA
       Obligations Not Reported on Schedule E
       Obligations to Pension or Profit-Sharing, and Other Similar                          $                   NA
       Obligations (from Schedule F)
                                                                               TOTAL        $                    NA


     State the following:
       Average Income (from Schedule I Line 16)                                             $                    NA
       Average Expences (from Schedule J, Line 18)                                          $                    NA

        Current Monthly Income (from Form 22A Line 12; OR Form                              $                    NA
        22B Line 11; OR, Form 22C Line 20)

     State the following:
        1. Total from Schedule D, "Unsecured Portion, IF                                                                             NA
                                                                                                                           $
        ANY" column
        2. Total fromSchedule E, "AMOUNT ENTITLED TO
         PRIORITY, IF ANY" column                                                           $                    NA
        3. Total from Schedule E, "AMOUNT NOT ENTITLED TO                                                                  $
         PRIORITY, IF ANY" column                                                                                                    NA

        4. Total from Schedule F                                                                                           $         NA
        5. Total from non-priority unsecured debt (sum of 1, 3, and 4)                                                     $         NA

                 The foregoing information is for statistical purposes only under 28 U.S.C § 159.
             Case 12-40701     Doc 8   Filed 03/30/12    Entered 03/30/12 14:24:08   Desc Main Document     Page 3 of 28

           Form B6 A (12/07)


In re:Optovision   Technologies, Inc.                                                Debtor(s) Case No.                           (if known)


                                   SCHEDULE A - REAL PROPERTY
                                                                                           CURRENT VALUE OF
                                                        NATURE OF DEBTOR'S                DEBTOR'S INTEREST IN          AMOUNT OF
   DESCRIPTION AND LOCATION OF PROPERTY                 INTEREST IN PROPERTY         H     PROPERTY WITHOUT           SECURED CLAIM
                                                                                     W       DEDUCTING ANY
                                                                                     J     SECURED CLAIM OR
                                                                                     C         EXEMPTION




                                                                               Total ->                          (Report also on Summary of
                                                                                                                 Schedules)
                  Case 12-40701    Doc 8   Filed 03/30/12   Entered 03/30/12 14:24:08   Desc Main Document     Page 4 of 28

               Form B6 B (12/07)

 In re:   Optovision Technologies, Inc.                                             Debtor(s)   Case No.                          (if known)



                                   SCHEDULE B - PERSONAL PROPERTY
                                                                                                                       CURRENT VALUE OF
                                           N                                                                    W     DEBTOR'S INTEREST IN
                                           O                                                                    H      PROPERTY WITHOUT
           TYPE OF PROPERTY                            DESCRIPTION AND LOCATION OF PROPERTY
                                           N                                                                    J        DEDUCTING ANY
                                           E                                                                    C      SECURED CLAIM OR
                                                                                                                           EXEMPTION

  01 Cash on hand                              x

  02 Checking savings or                       x
     other financial
     accounts certificates
     of deposit or shares
     in banks savings and
     loan thrift building
     and loan and
     homestead
     associations or
     credit unions
     brokerage houses or
     cooperatives.

  03 Security Deposits                         x
     with public utilities
     telephone companies
     landlords and others.

  04 Household goods and                       x
     furnishings including
     audio video and
     computer equipment.

  05 Books; pictures and                       x
     other art objects;
     antiques; stamp coin
     record tape compact
     disc and other
     collections or
     collectibles.

  06 Wearing apparel.                          x

  07 Furs and jewelry.                         x

  08 Firearms and sports                       x
     photographic and
     other hobby
     equipment.




      (Include amounts from any continuation sheets attached. Report total also on Summary of Schedules)   Total ->
                                                                                                                                   0.00
_________ Continuation sheets attached
                  Case 12-40701    Doc 8   Filed 03/30/12   Entered 03/30/12 14:24:08   Desc Main Document     Page 5 of 28

               Form B6 B (12/07)

 In re:   Optovision Technologies, Inc.                                             Debtor(s)   Case No.                          (if known)



                                   SCHEDULE B - PERSONAL PROPERTY
                                                                                                                       CURRENT VALUE OF
                                           N                                                                    W     DEBTOR'S INTEREST IN
                                           O                                                                    H      PROPERTY WITHOUT
           TYPE OF PROPERTY                            DESCRIPTION AND LOCATION OF PROPERTY
                                           N                                                                    J        DEDUCTING ANY
                                           E                                                                    C      SECURED CLAIM OR
                                                                                                                           EXEMPTION

  09 Interests in                              x
     insurance policies.
     Name insurance
     company of each
     policy and itemize
     surrender or refund
     value of each.

  10 Annuities. Itemize                        x
     and name each issuer.

  11 Interests in an                           x
     education IRA as
     defined in 26 U.S.C.
     § 530(b)(1) or under
     a qualified State
     tuition plan as
     defined in 26 U.S.C.
     § 529(b)(1) Give
     particulars.(file
     separately the
     record(s) of any such
     interest(s). 11
     U.S.C. § 521(c); Rule
     1007(b)).

  12 Interests in IRA                          x
     ERISA Keogh or other
     pension or profit
     sharing plans. Give
     particulars.

  13 Stock and interest in                     x
     incorporated and
     unincorporated
     businesses. Itemize.

  14 Interest in                               x
     partnerships or joint
     ventures. Itemize.




      (Include amounts from any continuation sheets attached. Report total also on Summary of Schedules)   Total ->
                                                                                                                                   0.00
_________ Continuation sheets attached
                  Case 12-40701    Doc 8   Filed 03/30/12   Entered 03/30/12 14:24:08   Desc Main Document     Page 6 of 28

               Form B6 B (12/07)

 In re:   Optovision Technologies, Inc.                                             Debtor(s)   Case No.                          (if known)



                                   SCHEDULE B - PERSONAL PROPERTY
                                                                                                                       CURRENT VALUE OF
                                           N                                                                    W     DEBTOR'S INTEREST IN
                                           O                                                                    H      PROPERTY WITHOUT
           TYPE OF PROPERTY                            DESCRIPTION AND LOCATION OF PROPERTY
                                           N                                                                    J        DEDUCTING ANY
                                           E                                                                    C      SECURED CLAIM OR
                                                                                                                           EXEMPTION

  15 Government and                            x
     corporate bonds and
     other negotiable and
     non-negotiable
     instruments.

  16 Accounts receivable.                      x

  17 Alimony maintenance                       x
     support and property
     settlements to which
     the debtor is or may
     be entitled. Give
     particulars.

  18 Other liquidated                          x
     debts owing debtor
     including tax
     refunds. Give
     particulars.

  19 Equitable or future                       x
     interests life
     estates and rights or
     powers exercisable
     for the benefit of
     the debtor other than
     those listed in
     Schedule A of Real
     Property.

  20 Contingent and                            x
     non-contingent
     interests in estate
     of a decedent death
     benefit plan life
     insurance policy or
     trust.




      (Include amounts from any continuation sheets attached. Report total also on Summary of Schedules)   Total ->
                                                                                                                                   0.00
_________ Continuation sheets attached
                  Case 12-40701    Doc 8   Filed 03/30/12   Entered 03/30/12 14:24:08   Desc Main Document     Page 7 of 28

               Form B6 B (12/07)

 In re:   Optovision Technologies, Inc.                                             Debtor(s)   Case No.                          (if known)



                                   SCHEDULE B - PERSONAL PROPERTY
                                                                                                                       CURRENT VALUE OF
                                           N                                                                    W     DEBTOR'S INTEREST IN
                                           O                                                                    H      PROPERTY WITHOUT
           TYPE OF PROPERTY                            DESCRIPTION AND LOCATION OF PROPERTY
                                           N                                                                    J        DEDUCTING ANY
                                           E                                                                    C      SECURED CLAIM OR
                                                                                                                           EXEMPTION

  21 Other contingent and                      x
     unliquidated claims
     of every nature
     including tax refunds
     counterclaims of the
     debtor and rights to
     setoff claims. Give
     estimated value of
     each.

  22 Patents copyrights                        x
     and other general
     intellectual
     property. Give
     particulars.

  23 Licenses franchises                       x
     and other general
     intangible. Give
     particulars.

  24 Customer lists or                         x
     compilations
     containing personally
     identifiable
     information (as
     defined in 11U.S.C.
     §101(41A)) provided
     by individuals
     connected with
     obtaining product or
     service from the
     debtor primarily for
     personal family or
     household purposes.

  25 Automobiles trucks                        x
     trailers and other
     vehicles and
     accessories.




      (Include amounts from any continuation sheets attached. Report total also on Summary of Schedules)   Total ->
                                                                                                                                   0.00
_________ Continuation sheets attached
                  Case 12-40701    Doc 8   Filed 03/30/12   Entered 03/30/12 14:24:08   Desc Main Document     Page 8 of 28

               Form B6 B (12/07)

 In re:   Optovision Technologies, Inc.                                             Debtor(s)   Case No.                          (if known)



                                   SCHEDULE B - PERSONAL PROPERTY
                                                                                                                       CURRENT VALUE OF
                                           N                                                                    W     DEBTOR'S INTEREST IN
                                           O                                                                    H      PROPERTY WITHOUT
           TYPE OF PROPERTY                            DESCRIPTION AND LOCATION OF PROPERTY
                                           N                                                                    J        DEDUCTING ANY
                                           E                                                                    C      SECURED CLAIM OR
                                                                                                                           EXEMPTION

  26 Boats motors and                          x
     accessories.

  27 Aircraft and                              x
     accessories.

  28 Office equipment
     furnishings and
     supplies.
                                                   10 Wood and metal desks                                                    2,500.00
                                                   10510 Olympic Drive
                                                   Dallas, TX.75220
                                                   10 Metal storage shelves                                                   2,000.00
                                                   10510 Olympic Drive
                                                   Dallas, TX. 75220
                                                   Freezer                                                                      100.00
                                                   10510 Olympic Drive
                                                   Dallas, TX. 75220
  29 Machinery fixtures
     equipment and
     supplies used in
     business.
                                                   Budzar 15 Ton Water Chiller                                            10,000.00
                                                   10510 Olympic Drive
                                                   Dallas, TX. 75220
                                                   Satis T40 Multi Tank Ultrasonic                                        45,000.00
                                                   10510 Olympic Drive
                                                   Dallas, TX. 75220
                                                   Grainger 15 HP Air Compressor                                              2,000.00
                                                   10510 Olympic Drive
                                                   Dallas, TX. 75220
                                                   Two 25 HP Air Compressors                                              15,000.00
                                                   10510 Olympic Drive
                                                   Dallas, TX. 75220
                                                   Satis 5 Ton Water Chiller                                                  3,500.00
                                                   10510 Olympic Drive
                                                   Dallas, TX. 75220
                                                   Two Laminair Flow Booths                                                   4,000.00
                                                   10510 Olympic Drive
                                                   Dallas, TX. 75220



      (Include amounts from any continuation sheets attached. Report total also on Summary of Schedules)   Total ->
                                                                                                                               84,100.00
_________ Continuation sheets attached
                  Case 12-40701    Doc 8   Filed 03/30/12   Entered 03/30/12 14:24:08   Desc Main Document     Page 9 of 28

               Form B6 B (12/07)

 In re:   Optovision Technologies, Inc.                                             Debtor(s)   Case No.                          (if known)



                                   SCHEDULE B - PERSONAL PROPERTY
                                                                                                                       CURRENT VALUE OF
                                           N                                                                    W     DEBTOR'S INTEREST IN
                                           O                                                                    H      PROPERTY WITHOUT
           TYPE OF PROPERTY                            DESCRIPTION AND LOCATION OF PROPERTY
                                           N                                                                    J        DEDUCTING ANY
                                           E                                                                    C      SECURED CLAIM OR
                                                                                                                           EXEMPTION

                                                   Master Chiller 20 Ton Water Chiller                                    10,000.00
                                                   10510 Olymic Drive
                                                   Dallas, TX. 75220
                                                   Ten Delta to Y Transformers                                                7,500.00
                                                   10510 Olympic Drive
                                                   Dallas, TX. 75220
                                                   10hp Air Compressor                                                        2,500.00
                                                   10510 Olympic Drive
                                                   Dallas, TX. 75220
                                                   Satis 35KVA Transformer                                                    5,000.00
                                                   10510 Olympic Drive
                                                   Dallas, TX. 75220
  30 Inventory.                                x

  31 Animals.                                  x

  32 Crops-growing or                          x
     harvested. Give
     particulars.

  33 Farming equipment and                     x
     implements.

  34 Farm supplies                             x
     chemicals and feed.

  35 Other personal                            x
     property of any kind
     not already listed.
     Itemize.




      (Include amounts from any continuation sheets attached. Report total also on Summary of Schedules)   Total ->
                                                                                                                              109,100.00
_________ Continuation sheets attached
                 Case 12-40701     Doc 8   Filed 03/30/12    Entered 03/30/12 14:24:08    Desc Main Document             Page 10 of 28

               Form B6 C (04/10)

In re: Optovision            Technologies, Inc.                                          Debtor(s) Case No.                                     (if known)


                            SCHEDULE C - PROPERTY CLAIMED AS EXEMPT
Debtor claims the exemptions to which debtor is entitled under:                    Check if debtor claims a homestead exemption that exceeds $146,450
    11 U.S.C. § 522(b)(2)

    11 U.S.C. § 522(b)(3)

                                                                                                                                 CURRENT VALUE OF
                                                                   SPECIFY LAW                      VALUE OF CLAIMED             PROPERTY WITHOUT
         DESCRIPTION OF PROPERTY                                  PROVIDING EACH                       EXEMPTION                DEDUCTING EXEMPTION
                                                                    EXEMPTION
                      Case 12-40701          Doc 8     Filed 03/30/12       Entered 03/30/12 14:24:08         Desc Main Document      Page 11 of 28
                    Form B6 D (12/07)


In re:   Optovision Technologies, Inc.                                                                 Debtor(s) Case No.


                           SCHEDULE D - CREDITORS HOLDING SECURED CLAIMS
 x       Check this box if debtor has no creditors holding secured claims to report on this Schedule D

           CREDITOR'S NAME AND MAILING                        CO H         DATE CLAIM WAS INCURRED,             AMOUNT OF CLAIM                             C
           ADDRESS INCLUDING ZIP CODE                          D              NATURE OF LIEN, AND                                           UNSECURED
                                                                 W                                             WITHOUT DEDUCTING
                                                                                                                                             PORTION IF
                                                                                                                                                            U
              AND ACCOUNT NUMBER                               E            DESCRIPTON AND MARKET                   VALUE OF
                                                               B J            VALUE OF PROPERTY                                                ANY          D
                    (See Instructions)                                                                             COLLATERAL                               *
                                                               T C              SUBJECT OF LIEN
  A/C #                                                                    VALUE $




  A/C #                                                                    VALUE $




  A/C #                                                                    VALUE $




  A/C #                                                                    VALUE $




  A/C #                                                                    VALUE $




  A/C #                                                                    VALUE $




  A/C #                                                                    VALUE $




                                                                                               Subtotal ->
                                                                                       (Total of this page)
                                                                                               Total ->
                Continuation Sheets attached. (use only on last page of the completed Schedule D.)
                                                                                                              (Report total also on   (If applicable,
*If contingent, enter C; if unliquidated, enter U; if disputed, enter D.                                      Summary of Schedules)   Report also on
                                                                                                                                      Statistical Summary
                                                                                                                                      of Certain
                                                                                                                                      Liabilities and
                                                                                                                                      Related Data.)
                    Case 12-40701        Doc 8     Filed 03/30/12      Entered 03/30/12 14:24:08           Desc Main Document           Page 12 of 28

                   Form B6 E (04/10)



In re:   Optovision Technologies, Inc.                                                                  Debtor(s) Case No.                                      (if known)



    SCHEDULE E - CREDITORS HOLDING UNSECURED PRIORITY CLAIMS
         Check this box if debtor has no creditors holding unsecured priority claims to report on this Schedule E.
TYPE OF PRIORITY CLAIMS (Check the appropriate box(es) below if claims in that category are listed on the attached sheets)
         Extensions of credit in an involuntary case
         Claims arising in the ordinary course of the debtor's business or financial affairs after the commencement of the case but before the earlier of the
         appointment of a trustee or the order for relief. 11 U.S.C § 507(a)(2).
         Wages, salaries, and commissions
X        Wages, salaries, and commissions, including vacation, severance, and sick leave pay owing to employees, up to a maximum of $11,725 per
         employee, earned within 180 days immediately preceding the filing of the original petition, or the cessation of business, whichever occured first, to the
         extent provided in 11 U.S.C. § 507(a)(4)
         Contributions to employee benefit plans
         Money owed to employee benefit plans for services rendered within 180 days immediately preceding the filing of the original petition, or the
         cessation of business, whichever occured first, to the extent provided in 11 U.S.C. § 507(a)(4).
         Certain farmers and fishermen
         Claims of certain farmers and fishermen, up to a maximum of $5775 per farmer or fisherman, against the debtor, as provided in 11 U.S.C. §507(a)(6).

         Deposits by individuals
         Claims of individuals up to a maximum of $2425 for deposits for the purchase, lease, or rental of property or services for personal, family, or
         household use, that were not delivered or provided. 11 U.S.C. § 507(a)(7)
         Alimony, Maintenance, or Support
         Claims for domestic support that are owed to or recoverable by a spouse, former spouse, or child of the debtor, or the parent, legal guardian, or
         responsible relative od such child, or a governmental unit whom such a domestic support claim was assigned to the extent provided in U.S.C. § 507(a)(7).
X        Taxes and Certain Other Debts Owed to Governmental Units
         Taxes, customs duties, and penalties owing to federal, state, and local governmental units as set forth in 11 U.S.C. § 507(a)(7).
         Commitments to Maintain the Capital of an Insured Depository Institution
         Claims based on commitments to the FDIC, RTC, Director of the Office of Thrift Supervision, Comptroller of the Currency, or Board of Governors
         of the Federal Reserve System, or their predecessors or successors, to maintain the capital of an insured depository institution. 11 U.S.C. § 507(a)(8)
         Claims for Death or Personal Injury While Debtor Was Intoxicated
         Claims for deathe or personal injury resulting from the operation of a motor vehicle or vessel while the debtor was intocicated from using alcohol,
         a drug, or another substance 11 U.S.C. § 507(a)(10).
*Amounts are subject to adjustment on April 1, 2010, and every three years thereafter with respect to cases commenced on or after the date of adjustment.

              CREDITOR'S NAME AND                          CO H             DATE CLAIM WAS
                                                            D                                                         TOTAL              AMOUNT ENTITLED TO           C
           MAILING ADDRESS INCLUDING                        E W              INCURRED AND                            AMOUNT                   PRIORITY                U
           ZIP CODE AND ACCOUNT NO.                           J              CONSIDERATION                                                AMT NOT ENTITLED
                                                            B                                                        OF CLAIM                                         D
                 (See Instructions)                         T C                FOR CLAIM                                                  TO PRIORITY, IF ANY
                                                                                                                                                                      *
    A/C# 461-9838-8                                                                                                    9,914.48                    9,914.48
    Employment Dev. Dept.                                                                                                                              0.00
    State of California                                               Employment taxes 2002-2007.
    P.O. Box 989061
    West Sacramento, CA.
    95798-9061
    A/C# 50-044330-8                                                                                        9,645.65
                                                                                                           Total ->    9,645.65
    Texas Workforce Commission                                                                                  0.00                   Total ->
    Labor Law Collections Unit                                        Unpaid wages and adminstrative penalties
    101 E. 15th Street, Rm. 556
    Austin, TX. 78778-0001                                            pursuant to notice of administrative lien




                                                                                           Subtotal ->               19,560.13                 19,560.13
             Continuation Sheets attached.                                          (Total of this page)
                                                                                                                                                    0.00
                              (Use only on last page of the completed Schedule E.
                                    (Report total also on Summary of Schedules.)                Total ->             19,560.13                 19,560.13
           (Use only on last page of the completed Schedule E.)                                            Total ->                                 0.00
           If applicable, report also on the Statistical Summary of Certain Liabilities and Related Data.)
                    Case 12-40701           Doc 8     Filed 03/30/12       Entered 03/30/12 14:24:08             Desc Main Document       Page 13 of 28


                   Form B6 F (12/07)

In re:   Optovision Technologies, Inc.                                                                       Debtor(s)     Case No.                          (if known)


SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
         Check this box if debtor has no creditors holding unsecured nonpriority claims to report on this Schedule F.

                                                              CO
                                                               D      H
             CREDITOR'S NAME AND                               E      W                 DATE CLAIM WAS INCURRED                             C
                                                                                                                                            U         AMOUNT
               MAILING ADDRESS                                 B      J               AND CONSIDERATION FOR CLAIM.                                      OF
              INCLUDING ZIP CODE                               T      C                   IF CLAIM IS SUBJECT TO                            D          CLAIM
             AND ACCOUNT NUMBER                                                              SETOFF, SO STATE.
                                                               O
                (See Instructions)
                                                               R
                                                                             Judgment rendered approx.                                               200,000.00
                                                                             10 years ago
 American Express
 c/o Gilbert Weisman
 Becket & Lee, LLP
 P.O. Box 3001
 Malvern, PA. 19355-0701
                                                                             Judgment rendered April                                              1,431,995.14
                                                                             25, 2011.
 Dallas County, et al
 c/o Traynard Jackson
 Linebarger, Goggan, et al
 2323 Bryan Street, Ste. 1
 Dallas, TX. 75201
                                                                             Judgement rendered                                                      944,125.37
                                                                             05/28/2003
 First Interstate Bank-Ind
 8520 Allison Pointe Trail
 Suite 210
 Indianapolis, IN. 46250

                                                                             Judgment rendered                                                       146,150.00
                                                                             10/28/2004
 GE Automation Services, I
 P.O. Box 2216
 Schenectady, NY. 12301


                                                                             2002 - accrued amounts                             C U        D         394,250.00
                                                                             owed on lease for
 Jones and Mauldin Real Es                                                   commercial building
 Partership, Ltd.
 5920 Forest Park Rd.
 Suite 600
 Dallas, TX. 75235-6416
                                                                             Judgment rendered                                                            26,432.00
                                                                             10-31-2005
 Umicore Thin Film Product
 c/o Caprice Garcia
 Goldberg & Alexander
 5924 Royal Lane, Ste. 250
 Dallas, TX. 75230

            continuation sheets attached.                                                                                      Subtotal    $      3,142,952.51
                                                                                                                                 Total     $     3,142,952.51
                                                                 (Use only on last page of the completed Schedule F.)
                                                                 (Report total also on Summary of Schedules and,
                                                                 if applicable, on the Statistical Summary of Certain
                                                                 Liabilities and Related Data.)
                 Case 12-40701       Doc 8    Filed 03/30/12     Entered 03/30/12 14:24:08    Desc Main Document   Page 14 of 28


                Form B6 G (12/07)

In re: Optovision       Technologies, Inc.                                                   Debtor(s) Case No.                    (if known)


       SCHEDULE G - EXECUTORY CONTRACTS AND UNEXPIRED LEASES
 x   Check this box if debtor has no executory contracts or unexpired leases.

                                                                                DESCRIPTION OF CONTRACT OR LEASE AND NATURE OF
        NAME AND MAILING ADDRESS, INCLUDING ZIP CODE,                            DEBTOR'S INTEREST, STATE WHETHER LEASE IS FOR
          OF OTHER PARTIES TO LEASE OR CONTRACT.                                 NONRESIDENTIAL REAL PROPERTY, STATE CONTRACT
                                                                                     NUMBER OF ANY GOVERNMENT CONTRACT.
              Case 12-40701    Doc 8    Filed 03/30/12   Entered 03/30/12 14:24:08   Desc Main Document     Page 15 of 28

              Form B6 H (12/07)

In re:     Optovision Technologies, Inc.                                               Debtor(s) Case No.                   (if known)



                                          SCHEDULE H - CODEBTORS
x   Check this box if debtor has no codebtors
             NAME AND ADDRESS OF CODEBTOR                                            NAME AND ADDRESS OF CREDITOR
                  Case 12-40701       Doc 8   Filed 03/30/12   Entered 03/30/12 14:24:08      Desc Main Document                Page 16 of 28



              Form B6 Cont. (12-07)




  In re:
            Optovision Technologies, Inc.                                                    Debtor(s) Case No.                                              (if known)


                              DECLARATION CONCERNING DEBTOR'S SCHEDULES

             DECLARATION UNDER PENALTY OF PERJURY BY INDIVIDUAL DEBTOR
                                                                                                            14
  I declare under penalty of perjury that I have read the foregoing summary and schedules, consisting of ____________sheets,          and
                                                                                                (Total shown on summary page plus 2.)
  that they are true and correct to the best of my knowledge, information, and belief.

                                                                         Signature___________________________________________________
                                                                                   Optovision Technologies, Inc.
    Date
                                                                                   Optovision Technologies, Inc Debtor
    Date                                                                 Signature________________________________________________
                                                                                                                                           (Joint Debtor, if any)
                                                                           (If joint case, both spouses must sign.)
__ __ __ __ __ __ __ __ __ __ __ __ __ __ __ __ __ __ __ __ __ __ __ __ __ __ __ __ __ __
          DECLARATION AND SIGNATURE OF NON-ATTORNEY BANKRUPTCY
                          PETITION PREPARER (See U.S.C. §110.)
  I declare under penalty of perjury that: (1) I am a bankruptcy petition preparer as defined in 11 U.S.C. §110; (2) I prepared this
  document for compensation and have provided the debtor with a copy of this document and the notices and information required
  under 11 U.S.C. §§110(b), 110(h), and 342(b); and (3) if rules or guidelines have been promulgated pursuant to 11 U.S.C.
  §110(h) setting a maximum fee for services chargeable by bankruptcy petition preparers, I have given the debtor notice of the
  maximum amount before preparing any document for filing for a debtor or accepting any fee from the debtor, as required by that
  section.

  Print or Type Name and Title, if any, of Bankruptcy Petition Preparer                             Social Security No. (Required by
                                                                                                    11 U.S.C. §110.)
  If the bankruptcy petition preparer is not an individual, state the name, title (if any), address, and social security number of the
  officer, principal, responsible person, or partner who signs this document.
  Address:


   X
       Signature of Bankruptcy Petition Preparer                                                                       Date
  Names and Social Security Numbers of all other individuals who prepared or assisted in preparing this document, unless the
  bankruptcy petition preparer is not an individual:
  If more than one person prepared this document, attach additional signed sheets conforming to the appropriate Official Form for each person
  A bankruptcy petition preparer's failure to comply with the provisions of title 11 and the Federal Rules of Bankruptcy Procedure may result in
__fines
     __or__    __ __ __
           imprisonment      __ __
                         or both.       __ __
                                  11 U.S.C. §110;__    __ __
                                                   18 U.S.C.     __ __ __ __ __ __ __ __ __ __ __ __ __ __ __ __ __
                                                             §156.

DECLARATION UNDER PENALTY OF PERJURY ON BEHALF OF CORPORATION OR PARTNERSHIP
 I, the President                                               [the president or other officer or an authorized agent of the corporation
 or a member or an authorized agent of the partnership] of the                                   [corporation or partnership]
 named as debtor in this case,declare under penalty of perjury that I have read the foregoing summary and schedules, consisting of
 14                    sheets, and that they are true and correct to the best of my knowledge, information, and belief.
  (Total shown on summary page plus 1.)

 Date      03/30/2012                                                  Signature /s/ Peter Zuccarelli - Presid
                                                                                Peter Zuccarelli
                                                                                           (Print or type name of individual signing on behalf of debtor.)



                    (An individual signing on behalf of a partnership or corporation must indicate position or relationship to debtor.)

                Penalty for making a false statement or concealing property: Fine of up to $500,000 or imprisonment for up to 5 years
                                                         or both. 18 U.S.C. §§ 152 and 3571.
       Case 12-40701   Doc 8   Filed 03/30/12   Entered 03/30/12 14:24:08   Desc Main Document   Page 17 of 28

         B6 Cover (Form 6 Cover) (12/07)




FORM 6. SCHEDULES

Summary of Schedules
Statistical Summary of Certain Liabilities and Related Data (28 U.S.C. § 159)

Schedule A - Real Property
Schedule B - Personal Property
Schedule C - Property Claimed as Exempt
Schedule D - Creditors Holding Secured Claims
Schedule E - Creditors Holding Unsecured Priority Claims
Schedule F - Creditors Holding Unsecured Property Claims
Schedule G - Executory Contracts and Unexpired Leases
Schedule H - Codebtors
Schedule I - Current Income of Individual Debtor(s)
Schedule J - Current Expenditures of Individual Debtor(s)

Unsworn Declaration Under Penalty of Purjury

GENERAL INSTRUCTIONS: The first page of the debtor's schedules and the first page of
any amendments thereto must contain a caption as in Form 16B. Subsequent pages should be
identified with the debtor's name and case number. If the schedules are filed with the petition,
the case number should be left blank.

Schedules D, E, and F have been designated for the listing of each claim only once. Even
when a claim is secured only in part or entitled to priority only in part, it still should be listed
only once.
A claim which is secured in whole or in part should be listed on Schedule D only, and a claim
which is entitled to priority in whole or in part should be listed on Schedule E only. Do not
list the same claim twice. If a creditor has more than one claim, such as claims arising from
seperate transactions, each claim should be scheduled separtely.

Review the specific instructions for each schedule before completing the schedule.
                      Case 12-40701         Doc 8      Filed 03/30/12      Entered 03/30/12 14:24:08           Desc Main Document             Page 18 of 28


                       Form 7 Stmt of Financial Affairs (04/10)


                                                        STATEMENT OF FINANCIAL AFFAIRS
                                                              UNITED STATES BANKRUPTCY COURT
                                                                    Eastern DISTRICT OF Texas
        In re:   Optovision Technologies,
                                                                                                            Debtor(s) Case No.

       STATEMENT OF FINANCIAL AFFAIRS
          This statement is to be completed by every debtor. Spouses filing a joint petition may file a single statement on which the information for both spouses is
        combined. If the case is filed under chapter 12 or chapter 13, a married debtor must furnish information for both spouses whether or not a joint petition is filed,
        unless the spouses are separated and a joint petition is not filed. An individual debtor engaged in business as a sole proprietor, partner, family farmer, or self-
        employed professional, should provide the information requested on this statement concerning all such activities as well as the individual's personal affairs. To indicate
        payments, transfers and the like to minor children, state the child's initials and the name and address of the child's parent or guardian, such as "A.B., a minor child, by
        John Doe, guardian." Do not disclose the child's name. Sec, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m).

          Questions 1-18 are to be completed by all debtors. Debtors that are or have been in business with in the last 6 years, as defined below, also must complete
        Questions 19-25. If the answer to any question is "None" or the question is not applicable, mark the box labeled "None". If additional space is needed for the answer to
        any question, use and attach a separate sheet properly identified with the case name, case number (if known), and the number of the question.

       DEFINATIONS
           "In business." A debtor is "in business" for the purpose of this form if the debtor is a corporation or partnership. An individual debtor is "in business" for the
        purpose of this form if the debtor is or has been, within the six years immediately preceding the filing of this bankruptcy case, any of the following: an officer,
        director, managing executive, orowner of 5 percent or more of the voting or equity securities of a corporation; a partner other than a limited partner, of a partnership, a
        sole proprietor or self-employed full-time or part-time. An individual debtor also may be "in business" for the purpose of this form if the debtor engages in a trade,
        business, or other activity, other than as an employee, to supplement income from the debtor's primary employment.

          "Insider." The term "insider" includes but is not limited to: relatives of the debtor; general partners of the debtor and their relatives; corporations of which the
        debtor is an officer, director, or person in control; officers, directors, and any person in control of a corporate debtor and their relatives; affiliates or the debtor
        and insiders of such affiliates; any managing agent of the debtor. 11 U.S.C. §101.

NONE
          01 INCOME FROM EMPLOYMENT OR OPERATION OF BUSINESS
           State the gross amount of income the debtor has received from employment trade or profession or from operation of the debtor's business including part-time
       activities either as an employee or in independent trade or business from the beginning of this calendar year to the date this case was commenced. State also the
       gross amounts received during the two years immediately preceding this calendar year. (A debtor that maintains or has maintained financial records on the basis of
       a fiscal rather than a calendar year may report fiscal year income. Identify the beginning and ending dates of the debtor's fiscal year.) If a joint petition is filed state
       income for each spouse separately. (Married debtors filing under chapter 12 or chapter 13 must state income of both spouses whether or not a joint petition is filed
       unless the spouses are separated and a joint petition is not filed.)


  AMOUNT                           SOURCES


  0.00                              2012 YTD - 0.00
                                    2011 - 0.00
                                    2010 - 0.00
NONE
                 Case 12-40701 Doc 8 Filed 03/30/12 Entered 03/30/12 14:24:08 Desc Main Document                                        Page 19 of 28
X         02 INCOME   OTHER THAN FROM EMPLOYMENT OR OPERATION OF BUSINESS
           State the amount of income received by the debtor other than from employment trade profession operation of the debtor's business during the two years
       immediately preceeding the commencement of this case. Give particulars. If a joint petition is filed state income for each spouse separately. (Married debtors filing
       under chapter 12 or chapter 13 must state income for each spouse whether or not a joint petition is filed unless the spouses are separated and a joint petition is not
       filed.)




NONE
X      03A PAYMENTS TO CREDITORS
          List all payments on loans installment purchases of goods or services and other debts to any creditor made within 90 days immediately preceding the
       commencement of this case if the aggregate value of all property that constitutes or is affected by such transfer is not less than $600. Indicate with an asterisk (*)
       any payments that were made to a creditor on account of a domestic support obligation or as part of an alternative repayment schedule under a plan by an approved
       nonprofit budgeting and creditor counseling agency. (Married debtors filing under chapter 12 or chapter 13 must include payments by either or both spouses whether
       or not a joint petition is filed unless the spouses are separated and a joint petition is not filed.)




NONE
X      03B PAYMENTS TO CREDITORS

          List each payment or other transfer to any creditor made within 90 days immediately preceding the commencement of the case if the aggregate value of all
       property that constitutes or is affected by such transfer is not less than $5850. (Married debtors filing under chapter 12 or chapter 13 must include payments and
       other transfers by either or both spouses whether or not a joint petition is filed unless the spouses are separated and a joint petition is not filed.)




NONE
X      03C PAYMENTS TO CREDITORS

         List all payments made within one year immediately preceding the commencement of this case to or for the benefit of creditors who are or were insiders. (Married
       debtors filing under chapter 12 or chapter 13 must include payments by either or both spouses whether or not a joint petition is filed unless the spouses are
       separated and a joint petition is not filed.)
NONE
                Case
        04A SUITS AND12-40701 Doc 8 Filed 03/30/12
                         ADMINISTRATIVE            Entered 03/30/12
                                            PROCEEDINGS             14:24:08 Desc
                                                               EXECUTION          Main Document AND
                                                                             GARNISHMENTS        Page ATTACHMENTS
                                                                                                      20 of 28


          List all suits and administrative proceedings to which the debtor is or was a party within one year immediately preceding the filing of this bankruptcy case. (Married
        debtors filing under chapter 12 or chapter 13 must include information concerning either or both spouses whether or not a joint petition is filed unless the spouses are
        separated and a joint petition is not filed.)


       CAPTION OF SUIT                                                NATURE OF PROCEEDING                 COURT & LOCATION                        STATUS OR DISPOSITION


    Dallas County, et al v. Optovision                                Tax Collection Suit                     191st District                         Judgment
    Technologies, Inc., et al.                                                                                Court,                                 rendered
    Case No. TX-09-31834                                                                                      Dallas County, TX.                     4/25/2011.



    Umicore Thin Film Products USA v.                                 Suit on Account                         County Court at Law                    Judgment
    Optovision Technologies, Inc.;                                                                            No. 1, Dallas                          rendered
    Case No. CC-05-09116-a                                                                                    County, TX.                            10/31/2005.



    First Interstate Bank - Indiana v.                                Collection Suit                         United States                          Judgment
    Optovision Technologies, Inc.                                                                             District Court -                       rendered
    Case No. 1:03-CV-0427-JDT-TAB                                                                             Southern District                      5/28/2003
                                                                                                              of Indiana,
                                                                                                              Indianapolis
                                                                                                              Division



    GE Automation Services, Inc. v.                                   Collection Suit                         134th District                         Judgment
    Optovision Technologies, Inc., et                                                                         Court, Dallas                          rendered
    al.                                                                                                       County                                 10/28/2004.
    Case No. 04-06415



    Jones and Mauldin Real Estate                                     Commecial Lease                         160th District                         Pending
    Partnership, Ltd. v. Peter                                        Enforcement                             Court
    Zuccarelli, et al.                                                                                        Dallas County
    Case No. DC-12-03140


NONE
X       04B SUITS AND ADMINISTRATIVE PROCEEDINGS EXECUTION GARNISHMENTS AND ATTACHMENTS

            Describe all property that has been attached garnished or seized under any legal or equitable process within one year immediately preceding the commencement
        of this case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning property of either or both spouses whether or not a joint
        petition is filed unless the spouses are separated and a joint petition is not filed.)
NONE
                Case 12-40701 Doc
          05 REPOSSESSIONS        8 Filed 03/30/12 AND
                               FORECLOSURES        Entered 03/30/12 14:24:08
                                                         RETURNS                                             Desc Main Document            Page 21 of 28
X
          List all property that has been repossessed by a creditor sold at a foreclosure sale transferred through a deed in lieu of foreclosure or returned to the seller within
       one year immediately preceding the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning
       property of either or both spouses whether or not a joint petition is filed unless the spouses are separated and a joint petition is not filed.)




NONE
X      06A ASSIGNMENTS AND RECEIVERSHIPS

            Describe any assignment of property for the benefit of creditors made within 120 days immediately preceding the commencement of this case. (Married debtors
       filing under chapter 12 or chapter 13 must include any assignment by either or both spouses whether or not a joint petition is filed unless the spouses are separated
       and a joint petition is not filed.)




NONE
X      06B ASSIGNMENTS AND RECEIVERSHIPS

           List all property which has been in the ands of a custodian receiver or court-appointed official within one year immediately preceding the commencement of this
       case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning property of either or both spouses whether or not a joint petition is
       filed unless spouses are separated and a joint petition is not filed.)




NONE
X         07 GIFTS
            7List all gifts or charitable contributions made within one year immediately preceding the commencement of this case except ordinary and usual gifts to family
       members aggregating less than $200 in value per individual family member and charitable contributions aggregating less than $100 per recipient. (Married debtors
       filing under chapter 12 or chapter 13 must include gifts or contributions by either or both spouses whether or not a joint petition is filed unless the spouses are
       separated and a joint petition is not filed.)




NONE
X         08 LOSSES

           List all losses from fire theft other casualty or gambling within one year immediately preceding the commencement of this case or since the commencement of
       this case. (Married debtors filing under chapter 12 or chapter 13 must include losses by either or both spouses whether or not a joint petition is filed unless the
       spouses are separated and a joint petition is not filed.)
NONE
                Case 12-40701
          09 PAYMENTS         Doc 8 TO
                         RELATED     Filed 03/30/12
                                        DEBT        Entered 03/30/12
                                                COUNSELING      OR 14:24:08 Desc Main Document
                                                                     BANKRUPTCY                                                             Page 22 of 28


            List all payments made or property transferred by or on behalf of the debtor to any persons including attorneys for consultation concerning debt consolidation
       relief under the bankruptcy law or preparation of a petition in bankruptcy within one year immediately preceding the commencement of this case.



       NAME AND ADDRESS OF PAYEE                                      DATE OF PAYMENT                        AMOUNT OF MONEY OR
                                                                                                             DESCRIPTION AND VALUE
                                                                                                             OF PROPERTY

    Meyer & Colegrove, PLLC                                            March 2012                               $2500.00
    5700 Granite Parkway, Suite 470                                    Peter Zuccarelli
    Plano, TX. 75024


NONE
X       10A OTHER TRANSFERS

           List all other property other than property transferred in the ordinary course of the business or financial affairs of the debtor transferred either absolutely or as
       security within two years immediately preceding the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include transfers by
       either or both spouses whether or not a joint petition is filed unless the spouses are separated and a joint petition is not filed.)




NONE
X       10B OTHER TRANSFERS

          List all property transferred by the debtor within ten years immediately preceding the commencement of this case to a self-settled trust or similar device of which
       the debtor is a beneficiary.




NONE
X         11 CLOSED FINANCIAL ACCOUNTS
             List all financial accounts and instruments held in the name of the debtor or for the benefit of the debtor which were closed sold or otherwise transferred within
       one year immediately preceding the commencement of this case. Include checking savings or other financial accounts certificates of deposit or other instruments;
       shares and share accounts held in banks credit unions pension funds cooperatives associations brokerage houses and other financial institutions. (Married debtors
       filing under chapter 12 or chapter 13 must include information concerning accounts or instruments held by or for either or both spouses whether or not a joint petition
       is filed unless the spouses are separated and a joint petition is not filed.)
NONE
X         12 SAFECase 12-40701BOX
                  DEPOSIT      Doc 8                Filed 03/30/12      Entered 03/30/12 14:24:08         Desc Main Document            Page 23 of 28


           List each safe deposit or other box or depository in which the debtor has or had securities, cash or other valuables within one year immediately preceding the
       commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include boxes or depositories of either or both spouses whether or not a
       joint petition is filed unless the spouses are separated and a joint petition is not filed.)




NONE
X         13 SETOFFS

           List all setoffs made by any creditor including a bank against a debt or deposit of the debtor within 90 days preceding the commencement of this case. (Married
       debtors filing under chapter 12 or chapter 13 must include information concerning either or both spouses whether or not a joint petition is filed, unless the spouses
       are separated and a joint petition is not filed.)




NONE
X         14 PROPERTY HELD FOR ANOTHER PERSON

          List all property owned by another person that the debtor holds or controls.




NONE
X         15 PRIOR ADDRESS OF DEBTOR

          If debtor has moved within three years immediately preceding the commencement of this case list all premises which the debtor occupied during that period and
       vacated prior to the commencement of this case. If a joint petition is filed report also any separate address of either spouse.




NONE
X         16 SPOUSES AND FORMER SPOUSES

          If the debtor resides or resided in a community property state commonwealth or territory (including Alaska, Arizona, California, Idaho, Louisiana, Nevada, New
       Mexico, Puerto Rico, Texas, Washington, or Wisconsin) within eight years immediately preceding the commencement of the case identify the name of the debtor's
       spouse and of any former spouse who resides or resided with the debtor in the community property state.
NONE
X             Case 12-40701 Doc
       17A ENVIRONMENTAL        8 Filed 03/30/12
                             INFORMATION                                  Entered 03/30/12 14:24:08          Desc Main Document            Page 24 of 28


           List the name and address of every site for which the debtor has received notice in writing by a governmental unit that it may be liable or potentially liable under or
       in violation of an Environmental Law. Indicate the governmental unit, the date of the notice and if known the Environmental Law:




NONE
X      17B ENVIRONMENTAL INFORMATION

          List the name and address of every site for which the debtor provided notice to a governmental unit of a release of Hazardous Material. Indicate the governmental
       unit to which the notice was sent and the date of the notice.




NONE
X      17C ENVIRONMENTAL INFORMATION

          List all judicial or administrative proceedings including settlements or orders under any Environmental Law with respect to which the debtor is or was a party.
       Indicate the name and address of the governmental unit that is or was a party to the proceeding and the docket number.




NONE


X      18A NATURE LOCATION AND NAME OF BUSINESS
           If the debtor is an individual, list the names, addresses, taxpayer identification numbers, nature of the businesses and beginning and ending dates of all
       businesses in which the debtor was an officer, director, partner or managing executive of a corporation, partner in a partnership, sole proprietor or was self-employed
       in a trade, profession or other activity either full-or part-time within six years immediately preceding the commencement of this case or in which the debtor owned 5
       percent or more of the voting or equity securities within six years immediately preceding the commencement of this case. List the names addresses taxpayer
       identification numbers nature of the businesses and beginning and ending dates of all businesses in which the debtor was a partner or owned 5 percent or more of
       the voting or equity securities within six years immediately preceding the commencement of this case.List the names addresses taxpayer identification numbers
       nature of the businesses and beginning and ending dates of all businesses in which the debtor was a partner or owned 5 percent or more of the voting or equity
       securities within six years immediately preceding the commencement of this case.

         If the debtor is a partnership, list the names, addresses, taxpayer identification numbers, nature of the business, and beginning and ending dates of all business in
       which the debtor was a partner or owned 5 percent or more of the voting or equity securities, within six years immediately preceding the commencement of this case.

          If the debtor is a corporation, list the names, addresses, taxpayer identification numbers, nature of the busiinesses and beginning and ending dates of all
       businesses in which the debtor was a partner or owned 5 percent or more of the voting or equity securities within six years immediately preceding the
       commencement of this case.
NONE
X              Case 12-40701
        18B NATURE  LOCATION DocAND
                                 8 Filed
                                     NAME03/30/12 Entered 03/30/12 14:24:08
                                              OF BUSINESS                                                   Desc Main Document             Page 25 of 28


          Identify any business listed in response to subdivision a. ,above, that is "single asset real estate" as defined in 11 U.S.C. Sec. 101.




NONE
X       19A BOOKS RECORDS AND FINANCIAL STATEMENTS

          List all bookkeepers and accountants who within two years immediately preceding the filing of this bankruptcy case kept or supervised the keeping of books of
       account and records of the debtor.




NONE
X       19B BOOKS RECORDS AND FINANCIAL STATEMENTS

          b.List all firms or individuals who within two years immediately preceding the filing of this bankruptcy case have audited the books of account and records, or
       prepared a financial statement of the debtor.




NONE
        19C BOOKS RECORDS AND FINANCIAL STATEMENTS

          c.List all firms or individuals who at the time of the commencement of this case were in possession of the books of account and records of the debtor. If any of
       the books of account and records are not available, explain.



       NAME                                                          ADDRESS


    Peter Zuccarelli                                                  2605 Anders Lane
                                                                      Plano, TX. 75093

NONE
X       19D BOOKS RECORDS AND FINANCIAL STATEMENTS

          List all financial institutions creditors and other parties including mercantile and trade agencies to whom a financial statement was issued by the debtor within two
       years immediately preceding the commencement of this case.
NONE
X               Case 12-40701
        20A INVENTORIES                     Doc 8     Filed 03/30/12      Entered 03/30/12 14:24:08           Desc Main Document             Page 26 of 28


          List the dates of the last two inventories taken of your property, the name of the person who supervised the taking of each inventory, and the dollar amount and
       basis of each inventory.




NONE
X       20B INVENTORIES

          List the name and address of the person having possession of the records of each of the inventories reported in a., above.




NONE
X       21A CURRENT PARTNERS OFFICERS DIRECTORS AND SHAREHOLDERS

          If the debtor is a partnership, list the nature and percentage of partnership interest of each member of the partnership.




NONE
        21B CURRENT PARTNERS OFFICERS DIRECTORS AND SHAREHOLDERS

         If the debtor is a corporation, list all officers and directors of the corporation and, each stockholder, who directly or indirectly owns controls or holds 5 percent or
       more of the voting or equity securities of the corporation.



       NAME AND ADDRESS                                               TITLE                                  PERCENTAGE OF STOCK
                                                                                                             OWNERSHIP

    Peter Zuccarelli                                                   President                                50% Owner
    2605 Anders Lane
    Plano, TX. 75093



    Vincent Mioli                                                      Treasurer                                50% Owner
    3256 Greenglow Dr. #3404
    Carrollton, TX. 75007
NONE
X             Case 12-40701
       22A FORMER   PARTNERSDoc 8OFFICERS
                                   Filed 03/30/12 Entered 03/30/12
                                               DIRECTORS      AND14:24:08 Desc Main Document
                                                                   SHAREHOLDERS                                                             Page 27 of 28


          If the debtor is a partnership, list each member who withdrew from the partnership within one year immediately preceding the commencement of this case..




NONE
X      22B FORMER PARTNERS OFFICERS DIRECTORS AND SHAREHOLDERS

         If the debtor is a corporation list all officers or directors whose relationship with the corporation terminated within one year immediately preceding the
       commencement of this case.




NONE
X         23 WITHDRAWALS FROM A PARTNERSHIP OR DISTRIBUTIONS BY A CORPORATION

          If the debtor is a partnership or corporation, list all withdrawals or distributions credited or given to an insider, including compensation in any form bonuses, loans,
       stock redemptions, options exercised and any other perquisite during one year immediately preceding the commencement of this case.




NONE
X         24 TAX CONSOLIDATION GROUP

         If the debtor is a corporation list the name and federal taxpayer identification number of the parent corporation of any consolidated group for tax purposes of which
       the debtor has been a member at any time within six years immediately preceding the commencement of the case.




NONE
X         25 PENSION FUNDS

          If the debtor is not an individual list the name and federal taxpayer identification number of any pension fund to which the debtor as an employer has been
       responsible for contributing at any time within the six-year period immediately preceding the commencement of this case.
                 Case 12-40701           Doc 8      Filed 03/30/12         Entered 03/30/12 14:24:08               Desc Main Document                Page 28 of 28


               Unsworn Declaration SFA               (04/10)


In re:   Optovision Technologies
                                                                                                                    Debtor(s) Case No.                                           (if known)

               DECLARATION CONCERNING DEBTOR'S STATEMENT OF FINANCIAL AFFAIRS

                                                            DECLARATION UNDER PENALTY OF PERJURY



(If completed by an individual or individual and spouse) I declare under penalty of perjury that I have read the answers contained in the
foregoing statement of financial affairs and any attachments thereto and that they are true and correct.




Date                                                                                               Signature Optovision Technologies, Inc.
                                                                                                                                    Optovision Technologies, Inc.

Date                                                                                               Signature

                                                                                                  (if joint case, both spouses must sign.)


            CERTIFICATION AND SIGNATURE OF NON-ATTORNEY BANKRUPTCY PETITION PREPARER (See 11 U.S.C. §110)




         Printed or Typed Name of Bankruptcy Petition Preparer                                       Social Security Number
                                                                                                    (Required by U.S.C.§110(c)).

Address

Names and Social Security Numbers of all other individuals who prepared or assisted in preparing this document:



If more than one person prepared this document, attach additional signed sheets confirming to the appropriate Official Form for each person.


X
    Signature of Bankruptcy Petition Preparer                                                                       Date
A bankruptcy petition preparer's failure to comply with the provisions of title 11 and the Federal Rules of Bankruptcy Procedure may result in fines or imprisonment or both.




                       DECLARATION UNDER PENALTY OF PERJURY ON BEHALF OF CORPORATION OR PARTNERSHIP

I, the President                                                                       (the president or other officer or an authorized agent of the corporation or a
member or an authorized agent of the partnership) of the                                                                                                  (corporation or partnership)
named as debtor in this case, declare under penalty of perjury that I have read the foregoing statement of financial affairs, consisting of
                                        sheets, and that they are true and correct to the best of my knowledge, information, and belief.
         Continuation sheets attached




Date     03/30/2012                                                                                 Signature/s/      Peter Zuccarelli - President
                                                                                                                  Peter Zuccarelli
                                                                                                                  President
                                                                                                                       (Print or type name of individual signing on behalf of debtor.)

                        (An individual signing on behalf of a partnership or corporatoin must indicate position or relationship to debtor.)


                                     PENALTY FOR MAKING A FALSE STATEMENT OR CONCEALING PROPERTY
                                    Fine of up to $500,000 or imprisonment for up to 5 years or both, 18 U.S.C. §152 and
                                                                          3571.
